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8                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
9
10        AMA MULTIMEDIA, LLC, a Nevada                  Case No.: 2:15-cv-01673-JCM-GWF
          limited liability company,
11                                                       FIRST AMENDED COMPLAINT
                      Plaintiff,                            (1) Petition to Compel Arbitration
12
                                                            (2) Copyright Infringement
13        v.                                                (3) Contributory Copyright
14                                                              Infringement
          BORJAN SOLUTIONS, S.L. d/b/a                      (4) Vicarious Copyright
15        SERVIPORNO, a Spanish company;                        Infringement
          and BORJAN MERA URRESTARAZU,                      (5) Inducement of Copyright
16        an individual,                                        Infringement
17                                                          (6) Violation of 17 U.S.C. § 1202(b)
                      Defendants.                           (7) Breach of Contract
18                                                          (8) Breach of Contract
19                                                       JURY DEMAND

20                                    FIRST AMENDED COMPLAINT
21             Plaintiff AMA Multimedia, LLC, through its counsel Randazza Legal Group,
22    brings this Amended Complaint against Defendants Borjan Solutions, S.L. d/b/a
23    Serviporno and Borja Mera Urrestarazu as follows:1
24
25    1 On December 24, 2015, Defendants filed a motion to dismiss. See ECF No. 7. This Amended
      Complaint is filed as a matter of course pursuant to Fed.R.Civ.P. (a)(1)(B), as it has been served
26    within 21 days thereof. This Amended Complaint renders moot the otherwise pending motion to
      dismiss. See Ramirez v. County of San Bernardino, 2015 U.S. App. LEXIS 20277, *14-16 (9th Cir.
27    2015).
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1                                             THE PARTIES
2            1.     Plaintiff AMA Multimedia, LLC (“AMA”)2 is a Nevada limited liability
3     company with its principal place of business in Las Vegas, Nevada. AMA
4     produces adult audiovisual material, which it distributes via the World Wide Web
5     under such well-known brands as “Passion-HD” and “Porn Pros,” among others.
6            2.     Defendant Borjan Solutions, S.L. d/b/a Serviporno (“Serviporno”) is a
7     Spanish company, operating within the Principality of Asturias. Serviporno owns
8     and operates the website located at <serviporno.com>, as well as the other
9     websites referenced in this Complaint.
10           3.     Defendant Borjan Mera Urresarazu (“Borjan”) is the principal of
11    Serviporno and is responsible for the operations of the website located at
12    <serviporno.com>, as well as the other websites referenced in this Complaint.
13                                           JURISDICTION
14           4.     This Court has subject matter jurisdiction over this case pursuant to
15    28 U.S.C. §§ 1331 and 1338(a). This Court has supplemental jurisdiction over
16    Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367(a). This Court also has
17    subject matter jurisdiction pursuant to 9 U.S.C. § 203, as this matter arises under
18    the Convention on the Recognition and Enforcement of Foreign Arbitral Awards.
19           5.     This Court has personal jurisdiction over Defendants pursuant to
20    Nevada’s long-arm statute, N.R.S. § 14.065, based upon the following: (a) they
21    operate a series of interactive websites on the World Wide Web that are
22    accessible to residents of the State of Nevada, including several that are
23    specifically marketed to U.S. residents; (b) Defendants intentionally stole
24    copyrighted material owned by Plaintiff, whom Defendants knew to reside in the
25
      2 Some of the facts alleged in this Amended Complaint implicate AMA’s predecessor-in-interest,
26    SSC Group, LLC. SSC Group and AMA Multimedia are collectively referred to as “AMA”. AMA
      Multimedia is the “successor” to SSC Group within the meaning of paragraph 11.0 of the
27    Settlement Agreement between SSC Group and Defendants.
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1     State of Nevada at the time of the theft; (c) Defendants intentionally breached
2     a Settlement Agreement with Plaintiff, who is a resident of the State of Nevada;
3     and (d) Defendants are parties to an agreement to arbitrate that specifies the
4     State of Nevada as the forum and law of the State of Nevada as governing.
5            6.       In the alternative, Defendants are residents of a foreign country
6     who have sufficient contacts with the U.S. to render jurisdiction proper in any U.S.
7     court, including the United States District Court for the District of Nevada. See
8     Fed. R. Civ. P. 4(k)(2); 28 U.S.C. § 1391.
9            7.       Defendants have purposefully availed themselves of doing business
10    in the U.S. and are properly subject to jurisdiction in any U.S. court.
11           8.       Defendants have a large portion of users in the United States, and
12    much of the stolen content distributed by Defendants on the World Wide Web
13    originates from the U.S., including Plaintiff’s content.
14           9.       The illegal distribution of Plaintiff’s works takes place partially, if not
15    entirely, in the U.S.
16           10.      The content on Defendants’ website is not only accessible in the
17    U.S.   It also loads from servers located in the U.S. via the Content Delivery
18    Network (“CDN”) chosen by Defendants.
19           11.      Defendants would only choose a U.S. – based CDN in order to
20    deliver content quickly to the United States.
21           12.      Venue is appropriate in the District of Nevada pursuant to 9 U.S.C. §
22    204 as the agreement to arbitrate designates Clark County, Nevada, as the
23    place of arbitration. Venue is otherwise appropriate pursuant to 28 U.S.C. §
24    1391(b)(2) & (3) as a substantial part of the intellectual property is situated
25    therein and Defendants are otherwise subject to this Court’s personal
26    jurisdiction.
27    //
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1                                    FACTUAL ALLEGATIONS
2                                   The Parties’ Initial Dispute
3           13.    In mid-2013, AMA learned that Defendants were engaged in large-
4     scale copyright infringement of Plaintiff’s works and the works of other adult
5     entertainment content producers on the website located at <serviporno.com>.
6           14.    On an Internet forum for adult industry webmasters, located at
7     <gfy.com>, Borjan started a thread to advertise his services. (See GFY.com
8     thread entitled “Cumlouder: a new crazy company in the adult industry,” dated
9     December 3, 2012 and attached hereto as Exhibit 1.)
10          15.    One GFY user confronted Borjan regarding the rampant copyright
11    infringement on Serviporno, stating that the site had “tons of full videos from all
12    major major content [sic] producers of the world” and asked Borjan why he was
13    posting videos from “content producers who didn’t give [him] permission to
14    broadcast their scenes in full.” (See id.)
15          16.    Another GFY user noted that Serviporno contained “full length
16    videos from the biggest programs, their own watermarks over the copyright
17    owner’s watermark,” while another user emphatically stated that most of the
18    content on Serviporno was stolen from other content producers. (See id.)
19          17.    Defendant Borjan admitted that he was unlawfully taking videos
20    from other tube sites and uploading them to Serviporno. (See id.) Borjan implied
21    that he knew his actions were unlawful but in his sole, and unexplained, opinion,
22    this was causing copyright owners no damage. (See id.)
23          18.    Following Borjan’s admission, a GFY user wrote that if he does not
24    “have a license for the content, own the content or have user uploaded
25    content covered by a takedown policy then [he] shouldn’t have it [on
26    Serviporno].” Shortly thereafter, Borjan responded “we know it, is the way we
27    choose to open,” causing another content producer to question “How do you
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1     know you don’t make any damage to our company by showing our full scenes
2     with your logo on it?” (See id.)
3           19.    As more and more GFY forum users complained that Borjan and
4     Serviporno were stealing content from them and replacing their watermarks with
5     Defendants’ watermarks, Borjan abandoned the thread that he started to
6     promote his business.
7           20.    Borjan’s and Serviporno’s content theft was particularly offensive to
8     Plaintiff AMA (and to the content producers participating in the GFY thread
9     Borjan started to promote his business) because Defendants were brazenly
10    stealing and posting content, admitting to it online, and insisting that their
11    actions were not harming content producers and were an acceptable business
12    practice.
13                                       The Initial Settlement
14          21.    After AMA learned of Defendants’ infringement and investigated
15    the Serviporno website, it began making plans to file suit against Serviporno in
16    the U.S. District Court for the Northern District of Texas, the location of
17    Defendants’ servers at the time. Defendants’ servers’ last-known location is in
18    Los Angeles, California.
19          22.    Before filing that litigation, AMA attempted to engage in settlement
20    discussions with Respondent.
21          23.    These discussions were productive, leading AMA to believe that
22    Defendants were willing to resolve the issues between the parties without the
23    necessity of litigation.
24          24.    The parties agreed upon a settlement, but Borjan and Serviporno
25    insisted that all of the content on Serviporno was uploaded by users and refused
26    to admit otherwise. While AMA knew this to be false, its main concern was
27    getting its copyrighted content off of the Serviporno website and keeping it off,
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1     so AMA entered into a settlement agreement (“the Agreement”) with
2     Defendants (see Settlement Agreement and Mutual Release, attached hereto
3     as Exhibit 2).
4             25.      In August 2013, the parties executed the Agreement, which was
5     designed to ensure that Defendants would stop stealing and posting AMA’s
6     content on the Serviporno website. It additionally required Defendants to take
7     down all content that infringed upon AMA’s copyrights and to enforce its
8     repeat infringer policy.
9             26.      For about one year after the parties executed the Agreement, they
10    enjoyed a cordial relationship. Plaintiff provided Defendants with approved,
11    short   videos      meticulously   curated    for   promotional   purposes   that   are
12    approximately 8-10 minutes in length with adequate watermarks and branding.
13    Defendants posted them along with links and banners to Plaintiff’s membership-
14    based pay sites where Internet users could purchase subscriptions to watch
15    Plaintiff’s full-length videos. Defendants would be paid a commission on any
16    sales they generated for AMA.
17                               Defendants Resume Infringement
18            27.      Approximately one year after the execution of the Agreement,
19    Defendants stopped posting AMA’s approved and legal videos. Instead, their
20    old, infringing activities resumed in earnest, with AMA’s full length videos
21    appearing on the Serviporno website with AMA’s branding removed.
22            28.      On November 24, 2014, AMA’s principal confronted Borjan and
23    Serviporno about their theft and was provided insufficient excuses by Borjan for
24    the infringement. Borjan’s excuses proved to be particularly deficient when he
25    subsequently admitted that he reviews and manually approves every video
26    before it is posted on Serviporno. No video is ever posted on the site without
27    Defendants’ explicit approval.
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1           29.    AMA tested Defendants’ upload tool, a mechanism that allows a
2     website visitor to upload content to the website’s server for viewing on the
3     website, on December 2, 2014. AMA attempted to upload videos on four
4     separate occasions, and none was ever published on <serviporno.com>.
5           30.    The videos that AMA attempted to upload were never published to
6     the site because Defendants’ upload tool is a façade designed to cover up
7     Defendants’ own posting of infringing videos to the website.
8           31.    Most tube sites have an active user community uploading videos to
9     the sites. However, Defendants’ Serviporno site has no apparent user
10    community. The videos on the site do not even identify which user uploaded
11    each video – a standard feature on tube sites from ones that feature adult
12    entertainment to YouTube and Vine.
13          32.    As further evidence that users are not uploading videos on the site,
14    the Serviporno website does not feature a community page or user profiles like
15    other tube sites.
16          33.    Most tube sites prominently feature their “sign in” or “registration”
17    links on the front page of the website in order to encourage website visitors to
18    join and begin uploading videos to the site. Serviporno’s “sign in” and
19    “registration” links are obscured as small links at the bottom of the site’s front
20    page next to the site’s terms and conditions and privacy policy. In other words,
21    Defendants have placed those links on an area of the page where website
22    visitors are least likely to see them.
23          34.    Plaintiff AMA also discovered that many of the videos on the
24    Serviporno site exceeded the 100MB size limit of uploads permitted on the
25    Serviporno site, demonstrating that it was impossible that third party users of
26    Serviporno uploaded the videos. The uploads must have been done by
27    Defendants themselves.
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1            35.    On or about December 23, 2014, AMA gave notice to Defendants
2     of infringement pursuant to paragraph 3.1 of the Agreement.
3            36.    On January 6, 2015, AMA sent a cease and desist letter to
4     Defendants, which indicated that many of the videos on the Serviporno website
5     exceed the maximum upload size Defendants permitted.
6            37.    In response, on January 8, 2015, Defendants increased the file size
7     upload limit to 1,000MB. However, Defendants still maintained that third party
8     users uploaded the videos in spite of massive evidence to the contrary.
9            38.    Defendants asserted that the upload limit was different depending
10    upon where the Internet user was accessing the Serviporno site. For example,
11    while the upload size limit for the United States might be 100MB, the upload limit
12    for another country may be greater or smaller.
13           39.    Plaintiff did not find Defendants’ assertion to be truthful.
14           40.    Indeed,      Defendants’          assertion   regarding   geographically
15    determined upload limits was a lie. Plaintiff tested Defendants’ argument and
16    used a proxy service to test the upload page from Spain, Germany, France, and
17    England to see if file size limits actually varied by location. They did not.
18           41.    On January 26, 2015, Plaintiff applied to this Court for the issuance
19    of a valid subpoena to Defendants regarding certain infringing videos on
20    Serviporno pursuant to the DMCA pursuant to paragraph 3.3 of the Agreement.
21           42.    A prerequisite to the issuance of a subpoena thereunder was
22    compliance by AMA with paragraph 3.1 of the Agreement.
23           43.    The Agreement required that Defendants would provide all
24    information in their possession regarding the user that uploaded the videos,
25    including the other videos that the user had uploaded, and would not object to
26    jurisdiction. (See Exhibit 2 at ¶¶ 3.1, 3.3.)
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1               44.   The user identification was particularly important to AMA because,
2     unlike other tube sites, Serviporno does not identify the user that uploads a
3     particular video, leaving it impossible for Plaintiff to investigate infringing users
4     itself.
5               45.   Even if the content is uploaded by users, the Defendants have
6     taken no actions to limit infringement, to suspend repeat infringers, nor even to
7     be able to identify uploaders.
8               46.   They engage in these acts of willful blindness intentionally, because
9     stolen copyrighted materials are required for the Defendants’ to attract traffic
10    and to thus generate revenue.
11              47.   Since the evidence shows that in many cases it was technically
12    impossible for anyone but the Defendants to upload the infringed material,
13    providing them with a subpoena pursuant to the DMCA or otherwise informing
14    them that AMA’s content was unlawfully on their site was a futile exercise.
15              48.   This Court issued the said subpoena on January 26, 2015. See In re
16    AMA Multimedia, LLC: Identification of John Does 1-256 Pursuant to the DMCA,
17    Docket No. 2:15-ms-00005 (Jan. 26, 2015).
18              49.   Defendants responded to the subpoena on March 11, 2015.
19              50.   In their response, Defendants failed to provide all information
20    Defendants possessed regarding the infringer, including all other videos that the
21    user had uploaded, and also objected to jurisdiction.
22              51.   Defendants did not object in their response to the subpoena that
23    AMA failed to comply with paragraph 3.1 of the Agreement prior to applying for
24    the subpoena or that the application otherwise did not comply with the
25    requirements of the DMCA.
26
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1           52.    AMA fully afforded Defendants an opportunity to remove any and
2     all infringing material pursuant to the procedures outlined in paragraph 3.0 of
3     the Agreement.
4           53.    As further set forth below, Defendants failed to discharge their
5     obligations pursuant to paragraph 3.0 of the Agreement.
6           54.    Therefore, AMA fulfilled all pre-suit requirements pursuant to
7     paragraph 2.1 of the Agreement.
8                               Defendants’ Related Websites
9           55.    Plaintiff AMA recently discovered that Defendants’ infringements of
10    the copyrighted works of AMA and others extends far beyond the Serviporno
11    website.
12          56.    Defendants actually operate a network of geographically targeted
13    websites. Infringing and rebranded content appears on all of them.
14          57.    Plaintiff cannot be sure whether it has discovered every website
15    Defendants use to further their copyright infringement. Currently, Plaintiff is
16    aware of three “rings” of websites that Defendants use to infringe upon and
17    profit from the copyrights of others.
18          58.    Regarding the first ring, Serviporno is part of a ring of websites that
19    include the following:
20                 a. <serviporno.com>, which targets the Spanish market;
21                 b. <todayporn.com> and/or <bubbaporn.com>, which targets the
22                    American market;
23                 c. <voglioporno.com>, which targets the Italian market;
24                 d. <pornodingue.com>, which targets the French market;
25                 e. <einfachporno.com>, which targets the German market;
26                 f. <pornodoido.com>, which targets the Brazilian market;
27                 g. <pornozot.com>, which targets the Dutch market;
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1                  h. <pornoglu.com>, which targets the Turkish market;
2                  i.   <chikiporno.com>, which targets the Russian market; and
3                  j.   <seansporno.com>, which targets the Polish market.
4     Screenshots for each website within this first ring are attached hereto as
5     Exhibits 3.1 through 3.10.
6           59.    Once a video is posted on one of these sites, it will appear on every
7     other website within the ring with translation into the language of the target
8     market.
9           60.    Each of these websites has the same design and style and was, at
10    one time, all linked to each of the other websites within the ring. Currently, they
11    are still linked together with the exception of <todayporn.com>. Defendants
12    removed the link to <todayporn.com> immediately after the mediation,
13    presumably to attempt to defeat U.S. jurisdiction should a lawsuit ever arise. The
14    <todayporn.com> website was replaced with <bubbaporn.com>.
15          61.    Defendants’ second ring of websites includes the following:
16                 a. <pornburst.xxx>, which targets the American market;
17                 b. <bundesporno.xxx>, which targets the German market;
18                 c. <pornalia.xxx>, which targets the Italian market; and
19                 d. <gauleporno.xxx>, which targets the French market.
20    Screenshots for each website in this second ring are attached hereto as
21    Exhibits 4.1 through 4.4.
22          62.    The second ring of websites shares the same design and style and
23    operates identically to the first ring of websites.
24          63.    Defendants’ third ring of websites includes the following:
25                 a. <freemovies.tv> and/or <pornjam.com>, which targets the
26                      American market;
27                 b. <canalporno.com>, which targets the Spanish market;
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1                      c. <prendiporno.tv>, which targets the Italian market;
2                      d. <pornodrome.tv>, which targets the French market;
3                      e. <nedporno.com>, which targets the Dutch market;
4                      f. <guterporn.com>, which targets the German market;
5                      g. <sexoquente.tv>, which targets the Brazilian market;
6                      h. <filmikiporno.tv>, which targets the Polish market;
7                      i.   <megaporno.tv>, which targets the Russian market; and
8                      j.   <pornovideolar.tv>, which targets the Turkish market.
9     Screenshots for each website in this third ring are attached hereto as Exhibits 5.1
10    through 5.10.
11           64.       The third ring of websites shares the same design and style and
12    operates identically to the first and second rings of websites.
13           65.       The three rings of websites do not operate independently of each
14    other. Defendants often place the same infringing videos on each and every
15    website in all three rings but will typically have three distinct titles – one for each
16    ring of sites.
17           66.       It would be an understatement to say that it strains credibility to
18    argue that an Internet user would upload a video to all three rings of websites
19    with a distinctly different title for each ring and a translation of each title for
20    each website within each ring. This would require a user to upload content to
21    24+ websites at the same time, all for no explicable reason.
22           67.       Defendants are uploading videos to all three rings themselves and
23    translating the video title for each website within each ring.
24           68.       On June 8, 2015, Plaintiff AMA discovered that Defendants had
25    reviewed the entire Serviporno website and attempted to remove each video
26    owned by AMA from the site, one by one.
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1           69.    Because all AMA branding had been removed from the videos, it
2     would have been difficult – if not impossible – for any person but the uploader
3     himself to recognize the content as AMA’s.
4           70.    Defendants were clearly trying to destroy or conceal as much
5     evidence as possible in the middle of a legal dispute, as it happened days after
6     the parties engaged in unsuccessful mediation and before the parties’ legal
7     issues were resolved.
8           71.    Defendants’ manual removal of AMA’s content is further evidence
9     of their guilt. An innocent party would not remove content and destroy all
10    evidence if that party was not liable under the Digital Millennium Copyright Act
11    (the “DMCA”) because third parties had uploaded the videos.
12          72.    The videos removed from Serviporno were removed from each and
13    every Respondent website, regardless of which ring they were associated with.
14    The videos Defendants failed to remove remained active on all of three rings.
15    Thus, the video files are not associated with different users for each ring of sites
16    but are connected in Defendants’ backend, further demonstrating that
17    Defendants are uploading the videos themselves.
18          73.    Defendants’ sites contain a directory of “Pornstar” pages to allow
19    users to find infringing videos featuring their favorite adult stars. Each pornstar
20    page has a manually cropped image of the star along with a biography.
21    Website users would have no mechanism for altering these images, the
22    biography text, or the pornstar page itself.
23          74.    Defendants had three infringing images on three unique pornstar
24    pages across their Websites. The AMA images that were stolen and uploaded by
25    Defendants for their “Pornstar” biography pages were taken from video
26    productions that occurred in 2014, at least 6 months from the execution of the
27    Agreement.
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1           75.    Defendants were not able to locate or remove all of Plaintiff’s
2     videos from the sites. Currently, AMA is aware that sixteen (16) of its videos are
3     still contained on Defendants’ sites. AMA is additionally aware that three (3) of
4     its images are located on Defendants’ sites.
5           76.    This number is far less than the amount of videos previously on
6     Defendants’ sites.
7           77.    Each and every time Defendants think that AMA has discovered a
8     different part of Defendants’ illegal scheme, Defendants alter the websites in an
9     attempt to frustrate Plaintiff’s claims.
10                               Defendants’ Refusal To Arbitrate
11          78.    The Agreement executed by the parties in 2013 required them to
12    attempt to resolve any future disputes through informal negotiations to be
13    followed by formal mediation.
14          79.    If neither negotiations nor mediation resulted in a resolution, the
15    Agreement required the parties to arbitrate the dispute in Clark County,
16    Nevada. The Agreement was silent with regard to the arbitration service and
17    arbitrator that AMA would choose to hear the claim.
18          80.    The Agreement did not limit Plaintiff’s options when choosing an
19    arbitration service, nor did it give Defendants any right to participate in the
20    selection of the arbitration service.
21          81.    When Plaintiff AMA discovered that Defendants had resumed their
22    infringing activities, Plaintiff scheduled informal negotiations to occur in Las
23    Vegas, Nevada. Those negotiations occurred on January 23, 2015 and were
24    unsuccessful.
25          82.    The parties engaged in mediation on May 21, 2015 at the offices of
26    AMA’s counsel. A representative of and counsel for AMA appeared in person on
27    AMA’s behalf. Counsel for Borjan and Serviporno appeared on Defendants’
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1     behalf while Borjan refused to appear in person, but rather appeared via
2     videoconference on behalf of himself and Serviporno. Las Vegas attorney Clyde
3     DeWitt served as mediator. The parties were unable to resolve the dispute.
4            83.     Borjan and Serviporno did not participate in good faith. While all
5     other relevant parties attended in person, Borjan and Serviporno only appeared
6     via Skype. Further, Borjan and Serviporno refused to provide a mediation
7     statement. It was clear from the beginning that neither intended to participate
8     in good faith, nor did either party disaffect anyone of that notion.
9            84.     Following the mediation, Plaintiff AMA attempted to commence
10    the arbitration but was thwarted by Defendants at every turn.
11           85.     Plaintiff initially suggested that the parties arbitrate using the
12    Honorable Philip M. Pro (ret.) as the arbitrator. Defendants rejected Judge Pro as
13    not having “the necessary IP background to properly understand” the dispute.3
14           86.     Contrary to the Agreement, Defendants insisted upon using an
15    arbitrator from San Diego.
16           87.     Plaintiff suggested Joseph Bongiovi and Ara Shirinian as potential
17    arbitrators, both of whom are experienced and well-regarded locally and
18    nationally. Defendants’ counsel rejected them immediately and stated that he
19    would not consent to use “Uncle Bob’s Arbitration and Weddings of Las Vegas.”
20           88.     Seeking to resolve this matter Plaintiff attempted to initiate
21    arbitration through ADR Services, a nationally recognized arbitration body with a
22    recognized presence and office in Las Vegas.
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24
25
      3 Almost any other reason for declining     to honor the selection of Philip Pro would have been
26    reasonable. But, to claim that Pro lacks knowledge of Intellectual Property matters is laughable.
      Pro served as a federal judge in this district for 35 years and a perfunctory search in LEXIS for his
27    cases reveals 29 copyright cases, 39 trademark cases, and 61 patent cases.
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1           89.     On or about August 3, 2015, Plaintiff transmitted a Demand for
2     Arbitration and an Arbitration Complaint to ADR Services and to counsel for
3     Defendants.
4           90.     Shortly after Plaintiff transmitted the documents, Defendants made
5     changes to their websites to address some of the allegations in the Arbitration
6     Complaint, which are also made in this Amended Complaint.
7           91.     Defendants’ changes to the websites resulted in the deletion of
8     relevant evidence. Specifically, Defendants changed the images on their
9     “Pornstar” bio pages so that they no longer included Plaintiff’s copyrighted
10    photographs and terminated their use of <freemovies.tv>, redirecting all traffic
11    to <pornjam.com>.
12          92.     On or about August 11, 2015, Plaintiff’s counsel spoke with ADR
13    Services’ case manager, who informed him that ADR Services would not take
14    the case unless Defendants agreed to participate in the arbitration or a court
15    order required them to participate.
16          93.     The   case   manager    stated   that     ADR   Services   was   calling
17    Defendants’ counsel later that day to discuss.
18          94.     After hearing nothing for one week, Plaintiff’s counsel spoke with
19    ADR Services’ case manager on August 18, 2015. The case manager informed
20    counsel that he had called Defendants’ counsel regarding the arbitration but
21    that Defendants’ counsel had not called him back.
22          95.     The case manager stated that it was his impression that
23    Defendants’ counsel was ignoring his call and would not participate in the
24    arbitration. As a result, ADR Services could not commence the arbitration.
25          96.     On or about August 19, 2015, Defendants transmitted a document
26    entitled “Motion to Dismiss Arbitration for Complainant’s Failure to Meet
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1     Conditions Precedent to the Filing of Arbitration and for the Award of
2     Contractual Attorneys’ Fees” to Plaintiff’s counsel and ADR Services.
3           97.    Defendants and their counsel had participated in the informal
4     negotiation and mediation required by the Agreement and engaged in bad
5     faith discussions with Plaintiff regarding the arbitration body that should hear the
6     matter.
7           98.    Throughout all of those negotiations, Defendants never indicated
8     that they believed Plaintiff had not met the required “conditions precedent.”
9           99.    Defendants intended that their “Motion” would frustrate the
10    arbitration, and it did. ADR Services informed Plaintiff’s counsel on August 25,
11    2015 that since Defendants refused to arbitrate the matter, it would not accept
12    the matter, leaving Plaintiff with no choice but to assert its claims against
13    Defendants in this Court.
14          100.   Plaintiff is entitled to compel Defendants to arbitrate the matter
15    through ADR Services, in Nevada, and therefore petitions this Court to compel
16    arbitration as set forth in the First Claim for Relief below.
17          101.   In the alternative, Defendants should be deemed to have waived
18    arbitration and Plaintiff therefore brings the Second through Eighth Claims for
19    Relief that were previously and substantially asserted in the arbitration before this
20    Court for adjudication.
21                                      CLAIMS FOR RELIEF
22                   First Cause of Action – Petition to Compel Arbitration
23          1.     Plaintiff repeats and realleges the allegations of the preceding
24    paragraphs as if set forth fully herein.
25          2.     This action seeks to compel arbitration pursuant to an arbitration
26    clause in a contract in commerce within the meaning of 9 U.S.C. § 1, et seq.,
27    and pursuant their legal relationship as set forth in their Agreement, in
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1     accordance with the Convention on the Recognition and Enforcement of
2     Foreign Arbitral Awards, Article II, enforceable pursuant to 9 U.S.C. § 201, et seq.
3           3.     Spain is a party to the Convention on the Recognition and
4     Enforcement of Foreign Arbitral Awards.
5           4.     On or about August 19, 2013, Plaintiff and Defendants entered into
6     the Agreement to resolve their dispute regarding the presence of Plaintiff’s
7     copyrighted content on Respondent’s Serviporno webpage, a copy of which is
8     attached hereto as Exhibit 2.
9           5.     That Agreement provided, at paragraph 20.1, in relevant part:
10          If the Parties are unable to resolve the dispute through direct
            negotiations and/or formal mediation, then except as otherwise
11          provided herein, either Party must submit the issue to binding
12          arbitration in accordance with applicable Arbitration laws and
            statutes. Claims subject to arbitration (“Arbitral Claims”) shall
13          include, but are not limited to, contract, tort and intellectual
            property claims of all kinds, and all claims based on any federal,
14          state or local law, statute, or regulation, excepting only claims
15          seeking injunctions, attachment, garnishment, and other equitable
            relief. The arbitration shall be conducted in the [sic] Clark County,
16          Nevada, in a convenient location agreed to by the parties, or
            absent such agreement, selected by the Arbitrator. The arbitration
17
            shall be conducted by a single arbitrator, knowledgeable in
18          Internet and intellectual property disputes. The arbitrator shall be
            willing to execute an oath of neutrality. The arbitration proceedings
19          shall be confidential.
20    That Agreement is valid and binding.
21          6.     In the course of the performance of the Agreement, certain
22    disputes arose between the Parties as set forth above.
23          7.     As a pre-condition to arbitration, the Agreement required the
24    Parties to meet and negotiate in good faith.              As set forth above, these
25    negotiations occurred on January 23, 2015.
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1           8.      The Parties subsequently formally mediated their dispute on
2     May 21, 2015, as required by the Agreement.
3           9.      Neither the direct negotiations nor formal mediation resolved the
4     dispute between the Parties.
5           10.     As the parties were unable to settle their differences, on or about
6     August 3, 2015, Plaintiff sent Defendants a Demand for Arbitration, utilizing the
7     services of ADR Services, Inc., so that the controversies between the Parties be
8     submitted to arbitration in accordance with the terms of the Agreement.
9           11.     Defendant has failed and refused to submit to arbitration.
10          12.     Plaintiff has performed in full all of its obligations, covenants, and
11    conditions contained in the Agreement, except for those obligations,
12    covenants, and conditions from which it has been lawfully excused from
13    performing.
14          13.     Plaintiff has neither implicitly nor explicitly waived its right to
15    arbitration under the Agreement or under law.
16          14.     Pursuant to 9 U.S.C. §§ 4 & 206, this Court should issue an order
17    compelling Defendants to arbitrate the dispute set forth above.
18          15.     Such arbitration should be before an arbitrator appointed in
19    accordance with the rules and procedures of ADR Services, Inc.,
20          16.     Defendants inappropriately filed a motion to dismiss the arbitration,
21    but such motion did not include an objection to the utilization of ADR Services as
22    the arbitration service, and Defendants have not otherwise objected to the use
23    of ADR Services.
24          17.     Pursuant to 9 U.S.C. §§ 5 & 206, this Court may cause the arbitrator
25    to be appointed under the rules and procedures of ADR Services, Inc.
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1           18.    As this matter is referable to arbitration under the Agreement, this
2     actions should otherwise be stayed until such arbitration has been had in
3     accordance with the terms of the Agreement, pursuant to 9 U.S.C. § 3.
4           19.    Plaintiff is otherwise entitled to its costs and reasonable attorneys’
5     fees pursuant to ¶ 16.0 of the Agreement as Defendants’ failure to arbitrate was
6     frivolous, vexatious, and/or undertaken in bad faith.
7             Second Claim for Relief – Copyright Infringement (17 U.S.C. § 501)
8           20.    Plaintiff   repeats    and    realleges   each   and   every   preceding
9     paragraph as if set forth fully herein.
10          21.    AMA is the owner of at least nineteen (19) timely registered works
11    that are or were copied and/or distributed, without authorization, on one or
12    more of the websites controlled and operated by Defendants.
13          22.    The number of infringements on Defendants’ websites grows daily.
14          23.    Defendants reproduced, reformatted, and distributed AMA’s
15    copyrighted works through servers and other hardware that they owned,
16    operated, or controlled.
17          24.    Defendants infringed AMA’s copyrights through their reproduction
18    and distribution of Plaintiff’s works through the websites referenced herein
19    without AMA’s approval or authorization.
20          25.    Defendants knew or should have known that they did not have
21    authorization to exploit AMA’s copyrighted works and that their actions
22    constituted copyright infringement.
23          26.    Defendants engaged in intentional, knowing, negligent, or willfully
24    blind conduct that demonstrates they engaged actively in the unlawful
25    collection and distribution of AMA’s copyrighted works.
26          27.    The copyrighted files on Defendants’ websites increased the
27    appeal of those sites, increasing Defendants’ revenue.
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1           28.    Defendants actively encourage the users of the websites to upload
2     infringing material.
3           29.    Defendants upload infringing material to the websites themselves.
4           30.    On information and belief, Defendants uploaded some or all of the
5     infringing videos onto the websites themselves.
6           31.    Defendants’ conduct was willful within the meaning of 17 U.S.C. §
7     101 et seq. At minimum, Defendants acted with willful blindness and reckless
8     disregard of AMA’s registered copyrights.
9           32.    Defendants are liable to Plaintiff for copyright infringement.
10          33.    Under 17 U.S.C. § 504, AMA may recover damages, including
11    readily ascertainable direct losses and all profits Defendants made by their
12    wrongful conduct; alternatively, the law permits AMA to recover statutory
13    damages. Id. § 504(c).
14          34.    Since infringement was willful, AMA is entitled to enhanced statutory
15    damages of $150,000 per instance of infringement. Id. § 504(c)(2).
16                Third Claim for Relief – Contributory Copyright Infringement
17          35.    Plaintiff   repeats    and    realleges   each   and   every   preceding
18    paragraph as if set forth fully herein.
19          36.    Defendants had actual or constructive knowledge regarding the
20    infringement occurring on their websites or were willfully blind to the
21    infringements.
22          37.    Defendants’ infringement was committed by third-party users of
23    Defendants’ websites, who distributed AMA’s works without permission.
24          38.    Defendants induced, caused, or materially contributed to this third
25    party infringement by providing the websites, and specifically through certain
26    features the websites designed to encourage users to upload copyright
27    protected videos.
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1           39.     Defendants assisted these third parties in organizing these infringing
2     works on its website.
3           40.     Defendants received a direct financial benefit from the third party
4     copyright infringement and are liable to Plaintiff.
5                  Fourth Claim for Relief – Vicarious Copyright Infringement
6           41.     Plaintiff   repeats    and    realleges   each   and   every   preceding
7     paragraph as if set forth fully herein.
8           42.     Defendants had specific (or at least general) knowledge of
9     copyright infringement occurring on their websites.
10          43.     Defendants had the right and ability to control access to, remove,
11    or disable the infringing materials.
12          44.     Defendants profited from the infringement.
13          45.     Defendants declined their right to delete or disable infringing
14    content and are liable to Plaintiff.
15                Fifth Claim for Relief – Inducement of Copyright Infringement
16          46.     Plaintiff   repeats    and    realleges   each   and   every   preceding
17    paragraph as if set forth fully herein.
18          47.     Defendants designed and distributed technology and induced
19    individuals to use this technology to promote the copyrighted material on
20    Defendants’ websites, including material belonging to Plaintiff.
21          48.     As a direct and proximate result of Defendants’ inducement, users
22    of Defendants’ websites infringed Plaintiff AMA’s works through Defendants’
23    websites.
24          49.     Defendants’ inducement was willful, knowing, willfully blind, or
25    negligent. At all pertinent times, Defendants acted with disregard for and
26    indifference to AMA’s copyrights.
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1                     Sixth Claim for Relief – Violation of 17 U.S.C. § 1202(b)
2            50.    Plaintiff   repeats    and     realleges      each    and     every    preceding
3     paragraph as if set forth fully herein.
4            51.    Defendants affixed the logos of their websites to every infringing
5     work on the Defendants’ website.
6            52.    Defendants attached their logos to the infringing works without
7     AMA’s knowledge or permission.
8            53.    Defendants’      use     of   their   logos     constitutes   “false   copyright
9     management information,” as it falsely informs the public that Defendants are
10    the owners, rights owners, and licensees of the infringing videos and that they
11    have the right to show them.
12           54.    Defendants       knowingly      added         this   copyright   management
13    information to the infringing works with the intent to induce, enable, facilitate,
14    and conceal infringement.
15                        Seventh Claim for Relief – Breach of Contract
16           55.    Plaintiff repeats and realleges the allegations of the preceding
17    paragraphs as if set forth fully herein.
18           56.    On or about August 19, 2013, Plaintiff and Defendants entered into
19    the Agreement to resolve their dispute regarding the presence of Plaintiff’s
20    copyrighted content on Respondent’s Serviporno webpage.
21           57.    In that Agreement, Defendants agreed to remove all infringing
22    AMA material upon notification by AMA and to provide AMA with all
23    information in their possession about the uploader, including links to all of the
24    uploader’s uploads. (See Exhibit 2, at ¶ 3.1.)
25           58.    Defendants additionally agreed to comply with any subpoena sent
26    to them by Plaintiff pursuant to the DMCA and to not challenge any subpoena
27    from Plaintiff for lack of jurisdiction. (See id., at ¶ 3.3.)
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1           59.      The Agreement is valid and binding.
2           60.      Plaintiff has performed in full all of its obligations, covenants, and
3     conditions contained in the Agreement, except for those obligations,
4     covenants, and conditions from which it has been lawfully excused from
5     performing.
6           61.      On January 26, 2015, Plaintiff issued a valid subpoena to
7     Defendants regarding infringement upon the Serviporno website. On March 11,
8     2015, Defendants violated the Agreement by objecting to the subpoena with
9     regard to personal jurisdiction and not providing all information in their
10    possession regarding who was uploading the infringing videos onto Serviporno,
11    including the other content that the user had uploaded for AMA’s review.
12          62.      Defendants additionally breach the Agreement on a regular and
13    continuing basis by either uploading infringing videos themselves or turning a
14    blind eye to website users who upload infringing videos.
15          63.      As a direct and proximate result of Defendants’ breaches of
16    contract, Plaintiff AMA has been damaged in an amount to be determined at
17    arbitration.
18          64.      Plaintiff AMA has been forced to retain legal counsel to pursue its
19    rights and seeks recovery of its attorneys’ fees and costs.
20                         Eighth Claim for Relief – Breach of Contract
21          65.      Plaintiff repeats and realleges the allegations of the preceding
22    paragraphs as if set forth fully herein.
23          66.      On or about August 19, 2013, Plaintiff and Defendants entered into
24    the Agreement to resolve their dispute regarding the presence of Plaintiff’s
25    copyrighted content on Respondent’s Serviporno webpage.
26          67.      That Agreement provided that any future disputes would be
27    adjudicated via binding arbitration in Clark County, Nevada.
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1            68.     The Agreement is valid and binding.
2            69.     Plaintiff has performed in full all of its obligations, covenants, and
3     conditions contained in the Agreement, except for those obligations,
4     covenants, and conditions from which it has been lawfully excused from
5     performing.
6            70.     As detailed herein, Defendants have unreasonably and without
7     justification failed to arbitrate.
8            71.     As a direct and proximate result of Defendants’ breaches of
9     contract, Plaintiff AMA has been damaged in an amount to be determined at
10    arbitration.
11           72.     Plaintiff AMA has been forced to retain legal counsel to pursue its
12    rights and seeks recovery of its attorneys’ fees and costs.
13                                         PRAYER FOR RELIEF
14           AMA respectfully requests that the Court hereby:
15           A.      Issue an order, upon five days’ notice, compelling Defendants to
16    submit to arbitration in Clark County, Nevada, before a single arbitrator,
17    appointed pursuant to the rules of ADR Services, as the Court may deem and
18    designate as appropriate pursuant to the Federal Arbitration Act, 9 U.S.C. § 1, et
19    seq. and the Convention on the Recognition and Enforcement of Foreign
20    Arbitral Awards;
21           B.      Issue an order designating ADR Services, Inc., as the arbitration
22    service whose rules shall apply, including for the appointment of an arbitrator
23    pursuant to 9 U.S.C. §§ 5 & 206;
24           C.      Issue an order staying these proceedings until such arbitration has
25    been had in accordance with the terms of the agreement, pursuant to 9 U.S.C.
26    § 3; and
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1           D.       Award Plaintiff its costs and reasonable attorneys’ fees, and such
2     other relief in law and equity as the Court may find appropriate; or, in the
3     alternative:
4           E.       Enter a judgment that Defendants willfully infringed upon AMA’s
5     rights in federally registered copyrights pursuant to 17 U.S.C. § 501 through
6     direct, contributory, vicarious, and/or inducing acts;
7           F.       Issue   injunctive      relief   against   Defendants,   their   agents,
8     representatives, employees, attorneys, successors, and assigns, and all others
9     acting with or on behalf of Defendants and enjoin Defendants from copying,
10    posting, or making any other infringing use of AMA’s audiovisual works pursuant
11    to 17 U.S.C. § 502;
12          G.       Issue   injunctive      relief   against   Defendants,   their   agents,
13    representatives, employees, attorneys, successors, and assigns, and all others
14    acting with or on behalf of Defendants and enjoin Defendants from engaging in
15    further copyright infringement; and if they are unable or unwilling to comply, to
16    issue an order shutting down each and every website owned or controlled by
17    Defendants, including but not limited to the ones listed in this Amended
18    Complaint;
19          H.       Enter an order enjoining Defendants from disposition of any
20    property, including their domain names, until full and final settlement or
21    payment of any and all money damage judgments;
22          I.       Enter an order requiring a full and complete accounting of all
23    amounts due and owed to AMA as a result of Defendants’ illegal or improper
24    activity, whether criminal or civil in nature;
25          J.       Enter an order directing Defendants to pay AMA statutory damages
26    of maximum enhanced statutory damages of $150,000 per infringed work
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1     pursuant to 17 U.S.C. § 504(c)(2), for Defendants’ willful infringement of AMA’s
2     copyrights;
3           K.      Enter an order directing Defendants to pay AMA statutory damages
4     of $25,000 per instance of placing false copyright management information on
5     the infringing works pursuant to 17 U.S.C. § 1203(c)(3)(A);
6           L.      Enter an order directing Defendants to pay AMA both the costs of
7     the action and reasonable attorneys’ fees incurred in prosecuting the action
8     pursuant to 17 U.S.C. § 505;
9           M.      Enter an order directing Defendants to pay pre- and post-judgment
10    interest at the highest legal rate; and
11          N.      Grant AMA all further relief in law and equity that the Court deems
12    appropriate.
13    Dated this 6th day of January, 2016.
14
                                                Respectfully Submitted,
15
                                                /s/ Marc J. Randazza
16                                              Marc J. Randazza
17                                              Nevada Bar No. 12265
                                                Ronald D. Green
18                                              Nevada Bar No. 7360
                                                RANDAZZA LEGAL GROUP, PLLC
19
                                                3625 S Town Center Dr., Ste. 150
20                                              Las Vegas, NV 89135
                                                Tel: (702) 420-2001
21                                              Fax: (702) 420-2003
                                                ecf@randazza.com
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1                                 CERTIFICATE OF SERVICE
2           I HEREBY CERTIFY that on January 6th, 2016, I electronically filed the
3     foregoing document with the Clerk of the Court using CM/ECF. I further certify
4
      that a true and correct copy of the foregoing document is being served via
5
      transmission of Notices of Electronic Filing generated by CM/ECF.
6
                                                 Respectfully Submitted,
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8
                                                 Employee,
9                                                Randazza Legal Group, PLLC
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